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Memorandum

 

 

 

 

 

subj: DP CROB-00458 Date:
. 7 APR 17 PHI2: 39
UNITED STATES v. EVELYN PELAYO, et al. | April 17, 2008 eTRIOT COURT
SCENT AL pist obo AUF
To: SHERRI R. CARTER From: SANDY N. N LeALG YC
Clerk, United States District Court 5Y —xgsistant United States Attorney
Central District of California Criminal Division
The accompanying matter being filed on April 17, 2008,
relates to x does not relate to

(1) a matter pending in the Riverside Branch Office of the United States Attorney’s Office (“USAO”) on or before
October 12, 2006, the date on which John C. Rayburn, Jr. resigned his appointment in that office; (2) a matter
pending in the Santa Ana Branch Office of the USAO on or before December 16, 2001, or (3) a matter in which John
C. Rayburn, Jr. was personally involved or on which he was personally consulted while employed in the USAO.

relates to xX does not relate to

(1) a matter pending in the Criminal Division of the USAO at any time between October 2002 and October 5, 2003,
the dates during which Jacqueline Chooljian was Chief of the Criminal Division in the USAO; (2) a matter pending
in the Major Frauds Section of the USAO at any time between October 5, 2003 and January 6, 2006, the date on
which Jacqueline Chooljian resigned her appointment in the USAO; or (3) a matter in which Jacqueline Chooljian
was personally involved or on which she was personally consulted while employed in the USAO.

relates to x does not relate to

a matter in which Patrick J. Walsh was personally involved or on which he was personally consulted while employed
in the USAO.

relates to x does not relate to

(1) a matter pending in the Major Frauds Section of the USAO on or before June 30, 2001, the date on which
Jennifer T. Lum resigned her appointment in that office; or (2) a matter in which Jennifer T. Lum was personally
involved or on which she was personally consulted while employed in the USAO.

relates to xX does not relate to

(1) a matter pending in the Narcotics Section of the USAO on or before April 20, 1999, the date on which Jeffrey W.
Johnson resigned his appointment in that office; or (2) a matter in which Jeffrey W. Johnson was personally involved
or on which he was personally consulted while employed in the USAO.

Ab O

SANDY N. DEAL

SONDY United States Attorney
